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     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )         CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )         STIPULATION AND
                                   )         [PROPOSED] ORDER CONTINUING
12        v.                       )         STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )         Date:    November 4, 2011
14                                 )         Time:    9:00 a.m.
                                   )         Judge:   Hon. Garland E.
15             Defendants.         )                  Burrell, Jr.
     ______________________________)
16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Michael M. Beckwith, Assistant
18
     United States Attorney, together with counsel for defendant David
19
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
20
     Leigh Canham, Dennis S. Waks Esq., that the status conference
21
     currently set for September 30, 2011, be continued to November 4,
22
     2011, and stipulate that the time beginning September 30, 2011,
23
     and extending through November 4, 2011, should be excluded from
24
     the calculation of time under the Speedy Trial Act.         The parties
25
     request to exclude time for defense preparation. This matter
26
     involves a wire intercept on several telephones and related pen
27
     registers, as well as over 3000 pages of discovery.
28
                                         1
           Case 2:08-cr-00363-WBS Document 117 Filed 09/28/11 Page 2 of 3


 1        The parties stipulate and agree that the interests of

 2 justice served by granting this continuance outweigh the best

 3 interests of the public and the defendants in a speedy trial. 18

 4 USC § 3161(h)(7)(B)(iv) and (Local T-4).

 5 IT IS SO STIPULATED.

 6

 7 Dated: September 21, 2011                    /s/ John R. Manning
                                              JOHN R. MANNING
 8                                            Attorney for Defendant
                                              David Robbie Forkner
 9

10 Dated: September 21, 2011                  /s/ John R. Manning for
                                            DENNIS S. WAKS
11                                          Attorney for Defendant
                                            Loretta Leigh Canham
12

13
     Dated: September 21, 2011                Benjamin B. Wagner
14                                            United States Attorney

15
                                        by:     /s/ John R. Manning for
16                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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            Case 2:08-cr-00363-WBS Document 117 Filed 09/28/11 Page 3 of 3


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 2
                      IN THE UNITED STATES DISTRICT COURT
 3
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 4

 5
     UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
 6                                   )
                     Plaintiff,      )
 7                                   )
          v.                         ) [PROPOSED] ORDER TO
 8                                   ) CONTINUE STATUS CONFERENCE
     David Forkner and               )
 9   Loretta Canham,                 )
                                     )
10                                   )
                     Defendants.     )
11   _______________________________ )

12
          GOOD CAUSE APPEARING, it is hereby ordered that the
13
     September 30, 2011 status conference be continued to November 4,
14
     2011 at 9:00 a.m.    I find that the ends of justice warrant an
15
     exclusion of time and that the defendant’s need for continuity of
16
     counsel and reasonable time for effective preparation exceeds the
17
     public interest in a trial within 70 days.        THEREFOR IT IS FURTHER
18
     ORDERED that time be excluded pursuant to 18 U.S.C. § 3161
19
     (h)(7)(B)(iv) and Local Code T4 from the date of this order to
20
     November 4, 2011.
21

22 Dated:    September 27, 2011

23
                                     GARLAND E. BURRELL, JR.
24                                   United States District Judge
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                                          3
